 Case 2:03-cr-00500-LRH-VCF           Document 143        Filed 01/19/06      Page 1 of 3



 1
 2
 3
 4
 5
 6                               UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8                                               *****
 9   UNITED STATES OF AMERICA,                     )
                                                   )
10                                Plaintiff,       ) 02:03-CR-00500-LRH-LRL
                                                   )
11   vs.                                           ) ORDER FOR PREPARATION OF
                                                   ) JURY INSTRUCTIONS
12   LANCE MATTHEW MALONE, MARY                    )
     KINCAID CHAUNCEY, and DARIO                   )
13   HERRERA,                                      )
                                                   )
14                                Defendants.      )
                                                   )
15
16         The parties shall submit proposed jury instructions as follows:
17                 (a)    The parties shall jointly submit one set of agreed upon instructions.
           To accomplish this, the parties shall serve their proposed instructions on each
18         other two weeks prior to trial. The parties shall then meet, confer, and submit to
           the court one complete set of agreed upon instructions.
19
                  (b)     If the parties cannot agree upon one complete set of instructions,
20         they shall submit one set of those instructions that have been agreed upon, and
           each party shall submit a supplemental set of instructions that are not agreed upon.
21
                    (c)     No later than two (2) days before trial, each party shall file any
22         objections to the non-agreed upon instructions proposed by the other party. All
           objections shall be in writing and shall set forth the proposed instruction objected
23         to in its entirety. The objection should specifically set forth the objectionable
           material in the proposed instruction. The objection shall contain citation to
24         authority explaining why the instruction is improper and a concise statement of
           argument concerning the instruction. Where applicable, the objecting party shall
25         submit an alternative instruction.
26                (d)    The parties shall submit the proposed joint set of instructions and
           proposed supplemental instructions in the following format:
27
                          (i)     there must be two (2) copies of each instruction;
28
 Case 2:03-cr-00500-LRH-VCF         Document 143         Filed 01/19/06     Page 2 of 3



 1                      (ii)    the first copy shall be annotated with the authority
         supporting the instruction;
 2
                        (iii)   the second copy shall contain only the proposed instruction
 3       – there should be no other marks or writings on the second copy except for the
         words “Jury Instruction No. ___” in the bottom margin. (See Attachment 1,
 4       attached hereto.)
 5              (e)     On the day of trial the parties may submit a concise argument in
         support of proposed instructions to which the other party objected.
 6
                 (f)    All instructions should be short, concise, understandable, and
 7       neutral statements of law. Argumentative or formula instructions are improper,
         will not be given, and should not be submitted.
 8
                 (g)    Any modifications of instructions from statutory authority, the
 9       Ninth Circuit Manual of Model Jury Instructions, or any other model instructions,
         must specifically state the modification made to the original source and the
10       authority supporting the modification.
11              (h)     Counsel shall submit to the court, using WordPerfect software,
         proposed jury instructions, either on:
12
                        (i)     3-1/2" diskette(s), or
13
                        (ii)    by email addressed to sheila_lund@nvd.uscourts.gov.
14
15       DATED this 19th day of January, 2006.
16
17
18                                             ________________________________
                                               LARRY R. HICKS
19                                             UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
27
28

                                                  2
 Case 2:03-cr-00500-LRH-VCF                 Document 143     Filed 01/19/06      Page 3 of 3



 1                                             ATTACHMENT 1
 2
 3           In reaching your verdict you may consider only the testimony and exhibits received into
 4   evidence. Certain things are not evidence, and you may not consider them in deciding what the
 5   facts are. I will list them for you.
 6           1.        Questions and objections are not evidence. You should not be influenced by the
 7   court’s ruling on them.
 8           2.        Testimony that has been excluded or stricken, or that you have been instructed to
 9   disregard, is not evidence and must not be considered. In addition, some testimony and exhibits
10   have been received only for a limited purpose; where I have given a limiting instruction, you
11   must follow it.
12           3.        Anything you may have seen or heard when the court was not in session is not
13   evidence. You are to decide the case solely on the evidence received at the trial.
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28   JURY INSTRUCTION NO. _____

                                                        3
